August 2, 2019        /s/ Jerry T. Yen




    August 2, 2019   /s/ Jerry T. Yen
                                       CERTIFICATE OF SERVICE
Case Name:          Wolf, Isaac v. University             No.     3:19-cv-02881
                    Professional & Technical
                    Employees, et al.

I hereby certify that on August 2, 2019, I electronically filed the following documents with the
Clerk of the Court by using the CM/ECF system:
ADR CERTIFICATION BY PARTIES AND COUNSEL
I certify that all participants in the case are registered CM/ECF users and that service will be
accomplished by the CM/ECF system.
I declare under penalty of perjury under the laws of the State of California the foregoing is true
and correct and that this declaration was executed on August 2, 2019, at Sacramento, California.


             Tracie L. Campbell                                 /s/ Tracie Campbell
                  Declarant                                          Signature

SA2019102769
AG Cert of Service CMECF No Paper Filers.docx
